Case 1:16-cv-00541-GMS Document 18 Filed 04/17/18 Page 1 of 1 PagelD #: 402

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

Daniel L. Tabb, Jr.,
Plaintiff,
VS.

Case No. 16-cv-00541 (GMS)

Atlantic Law Group, LLC,

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Defendant.

STIPULATION AND ORDER RESOVING COMPLAINT AGAINT
ATLANTIC LAW GROUP

IT IS HEREBY STIPULATED AND AGREED, on Lt | L\_ 2018, by and

between Atlantic Law Group, LLC (the “Defendant”) and Daniel L. Tabb, Jr., (the “Plaintiff’),

 

 

that:
1. The parties agree that the Complaint against Atlantic Law Group, LLC, Civ. No 16-
00541 is hereby resolved and that the case should be dismissed as to Defendant
Atlantic Law Group, LLC.
AA bn pio Seamish & Jah 4
Melanie J. Thompson, Esquire ID3588 Daniel L. Tabb, Jr.,
Atlantic Law Group 202 E. Wayne Way
1201 N. Orange Street, T* Floor Middletown, DE 19709
Wilmington, DE 19801
Dated: Lb) \N , 2018

 

 

Wilmington, Delaware HON. GREGORY M. SLEET
UNITED STATES DISTRICT JUDGE
